             Case 4:05-cr-00483-PJH          Document 21       Filed 08/23/05     Page 1 of 2



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8                                 UNITED STATES DISTRICT COURT
9                                NORTHERN DISTRICT OF CALIFORNIA
10                                     SAN FRANCISCO DIVISION
11
12   UNITED STATES OF AMERICA,                     )      No. CR 05 - 0483 PJH
                                                   )
13           Plaintiff,                            )      [PROPOSED] ORDER REGARDING
                                                   )      DETENTION – 18 U.S.C. §§ 3141, 3142
14      v.                                         )
                                                   )      SAN FRANCISCO VENUE
15   SANDOR LAKATOS,                               )
                                                   )
16           Defendant.                            )
                                                   )
17                                                 )
                                                   )
18
19
20           The above-entitled matter came on for a detention hearing of defendant SANDOR
21   LAKATOS (“LAKATOS”) on July 22, 2005, before the Honorable Nandor Vados, United States
22   Magistrate for the Northern District of California, with appearances by Timothy Lucey, Assistant
23   United States Attorney, for the Plaintiff, and Arthur Wachtel, Esq., for the Defendant.
24           Oral argument having been made by both parties along with a written report from Pre-
25   Trial Services, the Court ruled as follows:
26           The Court considered all of the information, evidence, and argument presented by counsel
27   for the government, for the defendant LAKATOS, and by Pre-Trial Services, pursuant to 18
28   U.S.C. § 3161(e)-(f)-(g).


     [PROPOSED] ORDER REGARDING DETENTION
             Case 4:05-cr-00483-PJH          Document 21        Filed 08/23/05      Page 2 of 2



1           The Court, after considering all such information, evidence, and argument, finds that the
2    defendant Lakatos, having been charged in a criminal complaint with a violation of 21 U.S.C. §
3    846 that carries a maximum prison term of 10 years or more, has not rebutted the presumption
4    that no condition or combination of conditions will reasonably assure the appearance of the
5    person as required and the safety of the community, based, in particular, on the following
6    available information:
7           •       Defendant is currently serving a term of felony probation in Alameda on a drug-
8                   related offense;
9           •       Defendant has three bench warrants on his record, of which at least two appear to
10                  remain active; and,
11          •       the unwillingness of any third-parties to come forward to act as sureties gives the
12                  Court concern about the defendant’s likelihood of appearing for future court dates.
13          ACCORDINGLY, THE COURT HEREBY ORDERS THAT the defendant TWINE be
14   detained in custody of the United States Marshal.     LAKATOS

15          The Court further orders and directs, pursuant to 18 U.S.C. § 3141(i): that the defendant
16   be committed to the custody of the Attorney General for confinement in a corrections facility
17   separate, to the extent practicable, from persons awaiting or serving sentences or being held in
18   custody pending appeal; that the defendant be afforded reasonable opportunity for private
19   consultation with his counsel; and, that, on order of a court of the United States or on request of
20   an attorney for the Government, the person in charge of the corrections facility in which the
21   person is confined deliver the person to a United States Marshall for the purpose of an
22   appearance in connection with a court proceeding.
23          Defendant is ordered to appear before the Honorable Phyllis J. Hamilton of this Court on
24   September 7, 2005, at 1:30 p.m., for further proceedings in this matter.
25   IT IS SO ORDERED.
26           8/23
     DATED: _______________, 2005
                                                                   ________________________
27                                                                 NANDOR VADAS
                                                                   United States Magistrate
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     [PROPOSED] ORDER REGARDING DETENTION
